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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA


   v.
                                             Criminal Action No. 17-232-EGS
   MICHAEL T. FLYNN,

   Defendant.



                           NOTICE OF COMPLIANCE

        Pursuant to this Court’s September 6, 2020 Minute Order, Michael T. Flynn

has submitted to the Court three bound and indexed courtesy copies of his Third

Supplement in Support of Agreed Dismissal, ECF No. 198.



Dated: September 25, 2020             Respectfully submitted,

/s/ Jesse R. Binnall                   /s/ Sidney Powell
Jesse R. Binnall                       Sidney Powell
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                            CERTIFICATE OF SERVICE

       I hereby certify that on September 25, 2020, a true and genuine copy of this

Notice of Compliance was served via electronic mail by the Court’s CM/ECF system

to all counsel of record.


                                             Respectfully submitted,

                                             /s/ Jesse R. Binnall
                                             Jesse R. Binnall, VSB# 79272
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